           Case 06-32011-sgj13          Doc 4 Filed 05/19/06 Entered 05/19/06 14:23:15                      Desc
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BTXN 036 (rev. 10/05)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Shuntay R White                                               §    Case No.: 06−32011−sgj13
                                                              §    Chapter No.: 13
                                           Debtor(s)          §


                                            NOTICE OF DEFICIENCY
Notice is hereby given to the Debtor(s) that the Original Petition and/or Other Document(s) filed is/are deficient for
one or more of the following reasons:

      A mailing matrix containing an alphabetical listing of all creditors, was not filed with the petition as required by
      N.D. TX L.B.R. 1007−2(a). The mailing matrix must be filed within 48 hours of the date of this notice.
      Social Security / Tax ID Number must be provided within 48 hours of the date of this notice.
      Debtor(s)' chapter 13 plan or plan summary and Authorization for preconfirmation of disbursements was not
      filed with the petition. The plan or plan summary and Authorization for preconfirmation of disbursements in a
      form acceptable to the Trustee must be filed within 15 days of the date of the filing of the petition (Bankruptcy
      Rule 3015).
      Debtor(s)' schedules A−J were not filed with the petition. The schedules must be filed within 15 days of the date
      of the filing of the petition (Bankruptcy Rule 1007(c)).
      Debtor(s)' statement of financial affairs was not filed with the petition. The statement of financial affairs must be
      filed within 15 days of the date of filing of the petition (Bankruptcy Rule 1007(c)).
      Attorney Fee Disclosure must be filed within 15 days .
      Twenty Largest Unsecured Creditors must be filed within 15 days.
      This case was filed without docketing a Form 21 Statement of Social Security Number. Form B21 must be filed
      with the court within 48 hours of the date of the petition pursuant to General Order 2004−04. If a debtor Social
      Security Number was erroneously entered by you in this case, you must notify all parties and credit reporting
      agencies of the correct Social Security Number information.
      Certificate from an approved credit counselor of completion of a briefing received prior to the filing of the
      petition must be provided within 72 hours of the date of the filing of the petition. If the briefing was not
      completed prior to the petition date, the debtor must submit to the court a certification that complies with the
      requirements of 11 USC 109(h)(3)(A).
      Copies of employee income records must be provided within 15 days of the date of the filing of the petition.
      Statement of Current Monthly Income must be provided within 15 days of the date of the filing of the petition.
      Chapter 15 Service List must be provided within 15 days of the date of the filing of the petition.
      Cash flow statement must be provided within 7 days from the issuance of this notice.
      Statement of operations must be provided within 7 days from the issuance of this notice.
      Balance sheet must be provided within 7 days from the issuance of this notice.
      Other:
Failure to comply with the N.D. TX L.B.R.'s and 11 U.S.C. § 521 to cure any or all of the deficiencies noted
above shall subject this petition to dismissal without further notice.

                        Return a copy of this notice each time one of the above deficiencies is cured.
